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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

                                                    §
 THE STATE OF TEXAS and                             §
                                                    §
 THE STATE OF MISSOURI,                             §
                                                    §
         Plaintiffs,                                §   Case No. 2:21-cv-00067-Z
                                                    §
 v.                                                 §
                                                    §
 JOSEPH R. BIDEN, JR., in his official              §
 capacity as President of the United States         §
 of America, et al.,                                §
                                                    §
         Defendants.                                §

       JOINT STATEMENT REGARDING DISCOVERY AND CONSOLIDATION

       Pursuant to the Court’s scheduling order of June 7, 2021, ECF No. 52, the parties submit

the following joint statement regarding the need for expedited discovery, consolidation under

Federal Rule of Civil Procedure 65(a)(2), and a briefing schedule to address any remaining

disputes.

       The parties have conferred and agree that the motion for a preliminary injunction, ECF No.

53, can be resolved on the basis of the record filed with the Court. Accordingly, the parties agree

that there is no need for discovery at this time.

       The parties generally agree that consolidation of the motion for preliminary injunction with

resolution on the merits under Fed. R. Civ. P. 65(a)(2) would be appropriate, although, as explained

below, Defendants’ agreement is contingent on the opportunity to file a short supplemental brief

addressing issues unique to summary judgment not yet briefed by the parties.

       Should the Court agree and proceed with consolidation under Fed. R. Civ. P. 65(a)(2), the

parties agree that there is no need for Defendants to file an Answer prior to that determination.
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       The parties note that Defendants filed a motion to strike Plaintiffs’ evidentiary appendix.

See ECF No. 62. That motion challenges the propriety of considering the appendix “when

evaluating the merits of claims under the APA.” Id. at 3. It does not raise evidentiary objections

(e.g., authenticity). As a result, the parties respectfully suggest that any hearing could be devoted

to legal argument rather than live testimony from witnesses.

       The parties otherwise set forth their positions as follows:

       Plaintiffs’ Position:

       Plaintiffs believe supplemental briefing is unnecessary. The parties have long known that

the court might order consolidation under Rule 65. See, e.g., ECF No. 32. If Defendants believe

their brief does not adequately address issues related to consolidation, the parties can address those

matters at a hearing after the Court provides notice of its ruling on consolidation. See Fed. R. Civ.

P. 65(a)(2) (noting that the court can consolidate “[b]efore or after beginning the hearing on a

motion for a preliminary injunction”). Plaintiffs believe that Defendants’ arguments about the

summary judgment standard are irrelevant because a trial on the merits under Rule 65 is not the

same as summary judgment under Rule 56, including with respect to factual disputes. See, e.g.,

H&W Indus., Inc. v. Formosa Plastics Corp., USA, 860 F.2d 172, 177 (5th Cir. 1988) (“[T]he

issues which are considered in the preliminary injunction hearing are entirely different from the

focus of a summary judgment adjudication.”); New England Anti-Vivisection Soc’y, Inc. v. U.S.

Surgical Corp., Inc., 889 F.2d 1198, 1200–01 (1st Cir. 1989) (distinguishing appellate review of

a consolidated hearing and trial from review of summary judgment).

       To the extent the court permits supplemental briefing, Plaintiffs respectfully request that it

be strictly limited to issues related to consolidation. Plaintiffs’ reply brief should be the last word

on issues raised by their motion. “Sur-replies are highly disfavored, as they usually are a strategic




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effort by the nonmovant to have the last word on a matter.” Sw. Insulation, Inc. v. Gen. Insulation

Co., No. 4:15-CV-601-O, 2016 WL 9244824, at *1 (N.D. Tex. June 6, 2016) (O’Connor, J.).

       Defendants’ Position:

       Defendants’ position is that the merits of the claims at issue must be resolved on the basis

of the administrative record filed with the Court. See ECF No. 62. Additionally, although

Defendants agree with Plaintiffs that consolidation under Fed. R. Civ. P. 65(a)(2) is appropriate

here, that agreement is contingent on the opportunity to submit a short supplemental filing

addressing issues unique to summary judgment not previously briefed. See, e.g., March for Life v.

Burwell, 128 F.Supp.3d 116, 124 (D.D.C. 2015) (explaining that in determining whether a decision

on the merits under Rule 65(a)(2) is appropriate, a court should consider whether, at this stage,

“the record is sufficient for a determination on the merits under the summary judgment standard”)

(emphasis added). Plaintiffs’ citation to H&W Indus., Inc. v. Formosa Plastics Corp., USA, 860

F.2d 172, 176-77 (5th Cir. 1988) in fact supports this conclusion, as the Fifth Circuit there clarified

that where the Court wishes to “rule on the merits following the preliminary injunction hearing” it

must give “notice to the parties that a decision on the merits will occur” because otherwise “the

court is rendering sua sponte summary judgment without providing notice or conducting a

summary judgment hearing as required by Fed.R.Civ.P. 56.” Id. (emphasis added).

       Defendants therefore respectfully request the opportunity to file a supplemental brief to

address issues that differ when addressing a motion for a preliminary injunction versus a final

judgment on the merits at the summary judgment stage. For example, Defendants require an

opportunity to address the propriety of the ultimate relief requested, as opposed to the preliminary

relief requested in Plaintiffs’ motion. As Defendants would explain at the summary judgment

posture, the appropriate relief, if any, if the Court found in Plaintiffs’ favor, would be vacatur, and




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remand without vacatur, or other noninjunctive relief, as opposed to the injunction Plaintiffs

request. See, e.g., Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165 (2010) (reversing

issuance of injunction in APA case where a “less drastic remedy” like a “partial or complete

vacatur” of the challenged decision is sufficient, and noting that injunction must “have [a]

meaningful practical effect independent of its vacatur”); Cent. & S. W. Servs., Inc. v. U.S. E.P.A.,

220 F.3d 683, 692 (5th Cir. 2000) (explaining when “remand, without vacatur” is an appropriate

summary judgment remedy). In addition, if the pending motion is consolidated with the merits,

Plaintiffs would face a heightened burden in demonstrating Article III standing under the relevant

summary judgment standard. See, e.g., TransUnion LLC v. Ramirez, No. 20-297, 2021 WL

2599472, at *10 (U.S. June 25, 2021) (“A plaintiff must demonstrate standing ‘with the manner

and degree of evidence required at the successive stages of the litigation.’”) (quoting Lujan v.

Defenders of Wildlife, 504 U.S. 555, 561 (1992)).

       Defendants need an opportunity to explain the propriety of the relevant forms of relief at

summary judgment and whether Plaintiffs satisfy their burden under Article III under the relevant

summary judgment standard. At the time Defendants filed their preliminary-injunction opposition,

it was not clear how the remainder of the case would be resolved. Accordingly, Plaintiffs are

incorrect in contending that clear and unambiguous notice was given that Defendants must address

summary judgment specific issues in their preliminary injunction opposition. See Univ. of Texas

v. Camenisch, 451 U.S. 390, 395 (1981) (“Before such an order [under Rule 65(a)(2)] may issue .

. . “the parties should normally receive clear and unambiguous notice of the court’s intent to

consolidate the trial and the hearing either before the hearing commences or at a time which will

still afford the parties a full opportunity to present their respective cases.”). Rather, Defendants

were directed to respond specifically to the motion for a preliminary injunction, and separately to




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confer with Plaintiffs whether consolidation could be appropriate. See ECF No. 52. Were the

Court to consolidate under Fed. R. Civ. P. 65(a)(2), it would no longer be ruling merely on

Plaintiff’s motion for preliminary injunction, but granting a final judgment, and it would be

inequitable to do so without granting the parties an equal opportunity to brief issues relating to this

final judgment under the relevant summary judgment standard. See Camenisch, 451 U.S. at 395

(“The purpose of a preliminary injunction is merely to preserve the relative positions of the parties

until a trial on the merits can be held. . . . A party thus is not required to prove his case in full at a

preliminary-injunction hearing.”).

        Accordingly, Defendants propose that, should the court elect to consolidate the preliminary

injunction motion with the merits under Rule 65(a)(2), that the parties be afforded an opportunity

to file supplemental briefs addressing issues they believe relevant to deciding the case at summary

judgment, by July 7, 2021. No party will be prejudiced by this request, as both parties may file

supplemental briefs.




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Date: June 28, 2021                       Respectfully submitted.

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                                   CERTIFICATE OF SERVICE

       I certify that on June 28, 2021, a true and accurate copy of the foregoing document was

filed electronically (via CM/ECF) and served on all counsel of record.

                                                           /s/
                                                                    Name




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